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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
KATHRYN SHIBER,
                                                                           Docket No.:
                                   Plaintiff,

        -against-                                                          COMPLAINT

CENTERVIEW PARTNERS LLC,                                                   PLAINTIFF DEMANDS
                                                                           A TRIAL BY JURY
                                    Defendant.
--------------------------------------------------------------------X

        Plaintiff Kathryn Shiber, as and for her Complaint, respectfully alleges, all upon

information and belief, as follows:

                                     JURISDICTION AND VENUE

        1.       This Court has original jurisdiction over the subject matter of this litigation

pursuant to 28 U.S.C. §1332, in that Plaintiff’s claims exceed the sum or value of $75,000,

exclusive of interest and costs, and is between citizens of different states.

        2.       Venue is proper under 28 U.S.C. §1391(b) because the events underlying this action

occurred while Shiber was employed within the Southern District of New York and because

Defendant does business within this District.

                                     IDENTITY OF THE PARTIES

        3.       At all relevant times mentioned herein, Plaintiff Kathryn Shiber (“Shiber”) was and

is a resident of the State of New Jersey and was employed by Defendant Centerview Partners LLC

(“Centerview Partners”) until her unlawful termination on September 15, 2020, because of her

disability and need for an accommodation.

        4.       At all relevant times mentioned herein, Centerview Partners is a Delaware

corporation that is authorized to and does conduct business in the County, City and State of New
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York, where Shiber was employed.

        5.     Centerview Partners is an investment banking and advisory firm with offices in

New York, London, Paris, San Francisco, Palo Alto and Los Angeles, that provides advice on

mergers and acquisitions, financial restructurings, valuation, and capital structure to companies,

institutions and governments, and has advised on nearly one trillion dollars worth of transactions

since its founding in 2006.

              BACKGROUND RELEVANT TO ALL CAUSES OF ACTION

        6.     Shiber commenced her employment with Centerview Partners on or about July 6,

2020.

        7.     At that time, Shiber was 21 years old and had recently graduated from Dartmouth

College with a degree in Quantitative Social Science and Studio Art.

        8.     Shiber had gone through a rigorous interview process for a position in Centerview

Partners’ prestigious three-year Analyst program, and had received the offer almost a year earlier

in September 2019, when she was a Senior in college.

        9.     The position at Centerview Partners was a dream opportunity for Shiber and once

she received an offer, she withdrew her candidacy for other positions.

        10.    As required by Centerview Partners, Shiber also completed more than 50 hours of

unpaid courses and six exams through Wall Street Prep in anticipation of commencing her

employment in July 2020, all of which Shiber completed successfully.

        11.    Shiber’s first three weeks following July 6, 2020 consisted of additional training

and exams, which Shiber also successfully completed.




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         12.   Once Shiber’s training ended, on or about July 27, 2020, Shiber was placed on

projects and began working, receiving encouraging feedback about the assignments she was

completing, with the constructive feedback that Shiber received focusing mostly on PowerPoint

formatting issues.

         13.   Soon after Shiber began working, it became clear that Centerview Partners fostered

a work environment where employees were expected, at times, to work 24 hours in a day or across

multiple days without rest or stopping.

         14.   For example, around the week of August 24, 2020, Shiber worked approximately

from 8:00 am to 1:00 am the next morning for two or three days in a row, and Shiber only logged

off her computer and went to sleep because she believed her tasks for the evening were complete.

         15.   However, on one of those days, Shiber was reprimanded via email for logging off

at 1:00 am by the Associate on the project, Tim Ernst, because he felt that Shiber should have

asked both him and the second-year Analyst on the project, Matt Gallea, before logging off.

         16.   Shiber was very apologetic and made clear that she did not want there to be any

question about her commitment to Centerview Partners.

         17.   Later that day, Ernst called Shiber and apologized if his email “came across too

mean.”

         18.   The problem was that Shiber, who suffers from a medical, mental or psychological

impairment in that she has been diagnosed with “Unspecified Anxiety Disorder” and “Unspecified

Mood Disorder,” requires consistent sleep to avoid exacerbating the effects of her diagnosis.

         19.   Nonetheless, on each occasion when she logged off, she believed she had

completed the assignments she had received.


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       20.     On or about that same day, Shiber reached out to Cheryl Robinson (“Robinson”) of

Centerview Partners’ Human Resources Department and requested to speak about how she could

manage work-life balance.

       21.     Shiber spoke with Robinson later that day and advised Robinson that she had a

medical disability that required eight to nine hours of sleep per night, ideally on a somewhat

consistent schedule.

       22.     Robinson responded that Shiber had done the right thing by contacting Human

Resources, that Shiber was not required to disclose the specifics of her medical condition and that

she would “see what [she] could do.”

       23.     Later that same day, Robinson called Shiber and suggested an accommodation of

putting up “guard rails,” meaning that during a certain period of time each night, Shiber would log

off her work computer and not be expected to perform any work tasks.

       24.     Robinson stated that Shiber’s colleagues would be made aware of this

accommodation which would enable Shiber to sleep 8 hours each night.

       25.     Shiber immediately responded that she was concerned about her team learning that

she required an accommodation, fearing that she would suffer a stigma as a result, and did not

want her need for an accommodation to impact her opportunities and experiences at the firm.

       26.     Robinson responded that she would speak with Partner Tony Kim (“Kim”), who

was a senior partner involved on the deal on which Shiber was working, since he was a “good

resource for this type of thing.”

       27.     Shortly thereafter, Shiber had a phone call with Kim and Robinson, where Shiber

reiterated that she did not want her need for an accommodation to limit her professional career.


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       28.     Kim responded that he understood Shiber’s concerns and that the firm could tell

Shiber’s co-workers that she was unavailable at specific hours without creating an issue for her

and that there were “plenty of reasons why someone would not be available at a specific time,”

and Kim gave an example of someone working on two demanding deals at once.

       29.     Shiber again reiterated that she did not want her disability to limit her career but

felt comforted by Kim’s and Robinson’s representations that it would not and, therefore, agreed to

the proposal that Kim and Robinson presented.

       30.     Early the following week, Robinson told Shiber that Kim had informed the team

that Shiber had a “hard stop” each night between midnight and 9:00 am, though Shiber had never

specifically asked for those times.

       31.     At the request of Robinson, Shiber provided Centerview Partners with a letter from

her primary medical provider dated September 1, 2020, which stated, “I am writing on behalf of

Kathryn Shiber, as I have been her primary care provider for the last 2 years. Because of her

underlying medical diagnoses, she requires consistent sleep 8-9 hours. If she is not able to maintain

a regular sleep schedule she is at significant risk for exacerbation of her illness.”

       32.     Robinson advised Shiber that the letter need not specify her medical diagnosis and

told Shiber that she had provided sufficient information regarding her medical condition to proceed

with the accommodation.

       33.     Thereafter, Shiber continued to perform her duties and worked from 9:00 am to

midnight each day, seven days a week, including all three days of the 2020 Labor Day weekend.

       34.     The feedback Shiber continued to receive from Tim Ernst and Matt Gallea largely

regarded PowerPoint formatting issues and was not negative or overly critical.


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       35.      The external meetings for which Shiber and her colleagues had been preparing,

which occurred on September 9 and 10, 2020, went “perfectly,” according to Kim, and Shiber was

assigned additional duties thereafter.

       36.     On Tuesday, September 15, 2020, at approximately 5:50 pm, Shiber received a

message from Centerview Partners’ Chief Operating Officer Jeanne Vicari (“Vicari”) to “kindly

join” her and Robinson for a Webex video call at 6:00 pm.

       37.     Shiber believed that this call was to check in on how her accommodation was going,

so she emailed her team member Matt Gallea to let him know that she had an unexpected call and

afterward would return to the research he had requested.

       38.     Shiber was terminated on the call with Vicari and Robinson.

       39.     Vicari and Robinson made it painfully clear to Shiber that she was being terminated

because of her disability, telling her, “Due to these accommodations you cannot perform the

essential functions of the job.”

       40.     Vicari and Robinson degradingly told Shiber that she was wrong to even think that

she could work at Centerview Partners with a disability or a need for an accommodation, saying,

“You made a mistake in accepting this job knowing you couldn’t complete the job.”

       41.     Vicari and Robinson blamed Shiber for her termination, which included them

telling Shiber she “should have known” she would be unable to do the job, that the position “will

require many 120-hour weeks over the 3 years which you should have known” and that

“Anyone who interviews for this kind of job knows this, it’s not our fault if there were gaps

in your knowledge.”




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       42.      Centerview Partners’ claim that Shiber “should have known” that the position

required consistent 120-hour weeks was not true and, in fact, Shiber’s own experience at the firm

showed that 120-hour work weeks were not the norm.

       43.      Vicari and Robinson actually made it seem as though Shiber had injured

Centerview Partners, telling Shiber, “You took a coveted spot in a program where you agreed

to fulfill the requirements for three years and given this accommodation you can’t fulfill

them, a spot we could have given to someone else which now we can’t as they have accepted

other jobs.”

       44.      Shiber was shocked and humiliated, but desperately wanted to salvage her position,

explaining that she was capable of and did work 105 hours per week (out of 168 total hours in a

7-day week) with the accommodation in place and was willing to work 120 hours per week to keep

her job.

       45.      Shiber said that when the accommodation had been granted, she had explained that

she did not want it to affect her career or her relationships with her colleagues and had been assured

by Kim and Robinson that she would not be viewed differently, yet now she was being terminated

based on the accommodation that Centerview Partners had decided for her.

       46.      Shiber sought to engage in a cooperative dialogue about an accommodation and

even proposed that she rescind the accommodation entirely, but Vicari and Robinson rejected any

discussion or cooperative dialogue that would permit Shiber to continue working at Centerview

Partners, telling her, “Your employment at the firm is terminated and that is irrevocable.”

       47.      Vicari and Robinson made it clear that Shiber’s termination was based on

Centerview Partners’ discriminatory perception that Shiber was not desirable as an employee


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merely because she has a disability, telling Shiber, “We can’t ignore the evidence you’ve

presented to us that the requirements of this job will have a negative impact on your health.”

       48.     When Shiber asked if her termination was about her performance or just her

disability, she was told, “It is detailed in the letter, that’s all we’re comfortable saying,” even

though the letter did not provide any explanation for Shiber’s termination.

       49.     Centerview Partners’ termination of Shiber had a devastating impact on her, as she

had been offered the position nearly a year earlier and would be unable to find a comparable

position quickly.

       50.     Shiber will also have to explain to potential future employers why she was

terminated from Centerview Partners after just two months of employment, and she cannot

reasonably explain that she was terminated due to Centerview Partners’ discriminatory animus

against her because of her disability.

       51.     Centerview Partners’ statements and conduct toward Shiber sends a message that

no person with a disability or need for an accommodation should consider working for the firm,

wrongfully precludes anyone who has any type of disability or need for an accommodation from

consideration and perpetuates the stigma that individuals with disabilities cannot contribute in the

workplace.

       52.     There was no legitimate business reason for Centerview Partners’ refusal to engage

in a cooperative dialogue with Shiber, as she was fulfilling the essential requisites of her position

with a reasonable accommodation.

       53.     Centerview Partners terminated Shiber even after she proposed that she forgo the

accommodation to maintain her employment, confirming that the real reason for Shiber’s


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termination was Centerview Partners’ discriminatory animus against Shiber for having a disability

and requesting an accommodation.

       54.     As a result of Centerview Partners’ discriminatory conduct, Shiber has suffered the

adverse effects of disability discrimination, which includes damages to the quality of her life, her

self-esteem, self-respect and financial and emotional well-being because she was subjected to the

humiliating and demeaning type of conduct described herein, all of which will continue and remain

a source of humiliation, distress and financial loss to Shiber into the future.

       55.     Here, Centerview Partners’ conduct towards Shiber shows that it acted with willful

or wanton negligence, or recklessness, or a conscious disregard of Shiber’s rights under the New

York City Human Rights Law, or that its unlawful actions against Shiber were so reckless as to

amount to a disregard of Shiber’s rights, so that in addition to all the damages inflicted upon Shiber

and in addition to all the measures of relief to which Shiber may properly be entitled herein,

Centerview Partners should also be required to pay punitive damages as punishment for its

discriminatory conduct in order to deter it and others similarly situated from engaging in such

conduct in the future.

             AS FOR A FIRST CAUSE OF ACTION ON BEHALF OF SHIBER
                AGAINST CENTERVIEW PARTNERS FOR DISABILITY
                  DISCRIMINATION IN VIOLATION OF §8-107(1)(a)
                  OF THE NEW YORK CITY HUMAN RIGHTS LAW

       56.     Shiber repeats, re-alleges and incorporates in full paragraphs 1 through 55 of this

Complaint as though fully set forth at length herein.

       57.     At the time Shiber was subjected to the discriminatory conduct described herein,

she was in a protected class under the New York City Human Rights Law because of her disability,



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or because Centerview Partners perceived her as having a disability.

        58.     Shiber had, and Centerview Partners perceived that she had, a disability within the

meaning of §8-102 of the New York City Human Rights Law because she has a “[p]hysical,

medical, mental or psychological impairment.”

        59.     Throughout the time of her employment with Centerview Partners, Shiber was fully

qualified for her position and was in a position to continue working in that capacity.

        60.     Centerview Partners treated Shiber less well because of her disability and took

adverse employment action against her by terminating her after she requested a reasonable

accommodation.

        61.     The circumstances surrounding Centerview Partners’ termination of Shiber,

including blatantly telling her that her employment was being terminated because of her

accommodation, as well as the remarkably close temporal proximity between Centerview Partners

learning of Shiber’s need for an accommodation and her termination, gives rise to a very real

inference that the actual basis for Centerview Partners’ actions against Shiber were motivated by

disability discrimination.

        62.     The aforementioned acts of Centerview Partners constitute unlawful discrimination

against Shiber in violation of Chapter I, Title 8 of the Administrative Code of the City of New

York, §8-107(1)(a) (referred to herein as “the New York City Human Rights Law”), which

provides, inter alia that:

                It shall be unlawful discriminatory practice . . .[f]or an employer or
                an employee or agent thereof, because of the actual or perceived . .
                . disability . . . of any person . . . to discharge from employment such
                person or to discriminate against such person in compensation or in
                terms, conditions or privileges of employment.


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       63.     As a result of Centerview Partners’ violation of the New York City Human Rights

Law §8-107(1)(a), Centerview Partners is liable to Shiber pursuant to §8-502(a) of said statute for

“damages, including punitive damages,” and pursuant to §8-502(f) of the statute for “costs and

reasonable attorney’s fees,” as provided for under the law.

       64.     Shiber has been caused to suffer injuries resulting in financial loss, emotional

anguish and suffering, and has been humiliated, demeaned and otherwise degraded because of

Centerview Partners’ outrageous conduct in violation of Shiber’s human rights, all of which has

impacted her well-being and the quality of her life.

       65.     As a direct and proximate result of Centerview Partners’ discriminatory conduct

complained of herein, Shiber has suffered damages, injuries and losses, both actual and

prospective, which include damage to her career and the emotional pain and suffering she has been

caused to suffer and continues to suffer, all of which Shiber alleges to be in the amount of Two

Million Dollars ($2,000,000).

       66.     Here, Centerview Partners’ conduct towards Shiber shows that it acted with willful

or wanton negligence, or recklessness, or a conscious disregard of Shiber’s rights under the New

York City Human Rights Law, or that its unlawful actions against Shiber were so reckless as to

amount to a disregard of Shiber’s rights, so that in addition to all the damages inflicted upon Shiber

and in addition to all the measures of relief to which Shiber may properly be entitled herein,

Centerview Partners should additionally be required to pay punitive damages as punishment for

its discriminatory conduct in the further amount of Three Million Dollars ($3,000,000), in order to

deter it and others similarly situated from engaging in such conduct in the future.




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       67.     Shiber, therefore, seeks judgment against Centerview Partners on this First Cause

of Action, including, among other things, for compensatory damages in the sum of Two Million

Dollars ($2,000,000), and the additional further sum of Three Million Dollars ($3,000,000) in

punitive damages, together with costs, pre-judgment interest and reasonable attorney’s fees on this

Cause of Action, making a total claim of Five Million Dollars ($5,000,000).

              AS FOR A SECOND CAUSE OF ACTION ON BEHALF OF
           SHIBER AGAINST CENTERVIEW PARTNERS FOR REFUSING
          TO ENGAGE IN THE COOPERATIVE DIALOGUE IN VIOLATION
           OF §8-107(28) OF THE NEW YORK CITY HUMAN RIGHTS LAW

       68.     Shiber repeats, re-alleges and incorporates in full paragraphs 1 through 55 of this

Complaint as though fully set forth at length herein.

       69.     Centerview Partners was obligated to engage in a cooperative dialogue with Shiber

related to her disability under the New York City Human Rights Law.

       70.     While Centerview Parties initially suggested and implemented an accommodation

for Shiber, it terminated her shortly thereafter by telling Shiber that very same accommodation

would not suffice, but without engaging in any dialogue with her about finding an accommodation

that would work for both Shiber and Centerview Partners.

       71.     Even when Shiber offered to rescind the accommodation that Centerview Partners

had imposed, Centerview Partners refused to engage in a cooperative dialogue with her, choosing

instead to summarily terminate her employment in violation of the New York City Human Rights

Law.

       72.     The aforementioned acts of Centerview Partners constitute a violation of §8-

107(28)(a)(2) of the New York City Human Rights Law, which specifically applies to “disability”



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and provides, inter alia that:

               It shall be an unlawful discriminatory practice for an employer,
               labor organization or employment agency or an employee or agent
               thereof to refuse or otherwise fail to engage in a cooperative
               dialogue within a reasonable time with a person who has requested
               an accommodation or who the covered entity has notice may require
               such an accommodation.

       73.     Section 8-107(28)(d) required Centerview Partners, “[u]pon reaching a final

determination at the conclusion of a cooperative dialogue,” to provide Shiber with “a written final

determination identifying any accommodation granted or denied,” yet Centerview Partners failed

to do so.

       74.     As a result of Centerview Partners’ violations of the New York City Human Rights

Law §8-107(28), Centerview Partners is liable to Shiber pursuant to §8-502(a) of said statute for

“damages, including punitive damages,” and pursuant to §8-502(f) of the statute for “costs and

reasonable attorney’s fees,” as provided for under the law.

       75.     Shiber has been caused to suffer injuries resulting in financial loss, emotional

anguish and suffering, both actual and prospective, and has been humiliated, demeaned and

otherwise degraded because of Centerview Partners’ outrageous conduct in violation of Shiber’s

human rights, all of which has impacted her well-being and the quality of her life, and which Shiber

alleges to be in the amount of Two Million Dollars ($2,000,000).

       76.     Here, Centerview Partners’ conduct towards Shiber shows that it acted with willful

or wanton negligence, or recklessness, or a conscious disregard of Shiber’s rights under the New

York City Human Rights Law, or that its unlawful actions against Shiber were so reckless as to

amount to a disregard of Shiber’s rights, so that in addition to all the damages inflicted upon Shiber


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and in addition to all the measures of relief to which Shiber may properly be entitled herein,

Centerview Partners should additionally be required to pay punitive damages as punishment for

its discriminatory conduct in the further amount of Three Million Dollars ($3,000,000), in order to

deter it and others similarly situated from engaging in such conduct in the future.

       77.     Shiber, therefore, seeks judgment against Centerview Partners on this Second

Cause of Action, including, among other things, for compensatory damages in the sum of Two

Million Dollars ($2,000,000), and the additional further sum of Three Million Dollars ($3,000,000)

in punitive damages, together with costs, pre-judgment interest and reasonable attorney’s fees on

this Cause of Action, making a total claim of Five Million Dollars ($5,000,000).

             AS FOR A THIRD CAUSE OF ACTION ON BEHALF OF SHIBER
                AGAINST CENTERVIEW PARTNERS FOR DISABILITY
                  DISCRIMINATION IN VIOLATION OF §8-107(15)(a)
                  OF THE NEW YORK CITY HUMAN RIGHTS LAW

       78.     Shiber repeats, re-alleges and incorporates in full paragraphs 1 through 55 of this

Complaint as though fully set forth at length herein.

       79.     Centerview Partners’ failure to provide Shiber with a reasonable accommodation

and termination of Shiber because she requested a reasonable accommodation violated §8-

107(15)(a) of the New York City Human Rights Law, which provides:

               [I]t is an unlawful discriminatory practice for any person prohibited
               by the provisions of this section from discriminating on the basis of
               disability not to provide a reasonable accommodation to enable a
               person with a disability to satisfy the essential requisites of a job or
               enjoy the right or rights in question provided that the disability is
               known or should have been known by the covered entity.
       80.     As a result of Centerview Partners’ violations of the New York City Human Rights

Law §8-107 (15)(a), Centerview Partners is liable to Shiber pursuant to §8-502(a) of said statute



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for “damages, including punitive damages,” and pursuant to §8-502(f) of the statute for “costs and

reasonable attorney’s fees,” as provided for under the law.

       81.     Shiber has been caused to suffer injuries resulting in financial loss, emotional

anguish and suffering, both actual and prospective, and has been humiliated, demeaned and

otherwise degraded because of Centerview Partners’ outrageous conduct in violation of Shiber’s

human rights, all of which has impacted her well-being and the quality of her life, and which Shiber

alleges to be in the amount of Two Million Dollars ($2,000,000).

       82.     Here, Centerview Partners’ conduct towards Shiber shows that it acted with willful

or wanton negligence, or recklessness, or a conscious disregard of Shiber’s rights under the New

York City Human Rights Law, or that its unlawful actions against Shiber were so reckless as to

amount to a disregard of Shiber’s rights, so that in addition to all the damages inflicted upon Shiber

and in addition to all the measures of relief to which Shiber may properly be entitled herein,

Centerview Partners should additionally be required to pay punitive damages as punishment for

its discriminatory conduct in the further amount of Three Million Dollars ($3,000,000), in order to

deter it and others similarly situated from engaging in such conduct in the future.

       83.     Shiber, therefore, seeks judgment against Centerview Partners on this Third Cause

of Action, including, among other things, for compensatory damages in the sum of Two Million

Dollars ($2,000,000), and the additional further sum of Three Million Dollars ($3,000,000) in

punitive damages, together with costs, pre-judgment interest and reasonable attorney’s fees on this

Cause of Action, making a total claim of Five Million Dollars ($5,000,000).




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                      AS FOR A FOURTH CAUSE OF ACTION ON BEHALF
                       OF SHIBER AGAINST CENTERVIEW PARTNERS
                       FOR RETALIATION IN VIOLATION OF §8-107(7)
                       OF THE NEW YORK CITY HUMAN RIGHTS LAW

        84.         Shiber repeats, re-alleges and incorporates in full paragraphs 1 through 55 of this

Complaint as though fully set forth at length herein.

        85.         Centerview Partners’ termination of Shiber because she requested a reasonable

accommodation violated §8-107(7) of the New York City Human Rights Law, which provides,

inter alia, that:

                    It shall be an unlawful discriminatory practice for any person
                    engaged in any activity to which this chapter applies to retaliate or
                    discriminate in any manner against any person because such person
                    has . . . (v) requested a reasonable accommodation under this chapter
                    ...

        86.         As a result of Centerview Partners’ violations of the New York City Human Rights

Law §8-107(7), Centerview Partners is liable to Shiber pursuant to §8-502(a) of said statute for

“damages, including punitive damages,” and pursuant to §8-502(f) of the statute for “costs and

reasonable attorney’s fees,” as provided for under the law.

        87.         Shiber has been caused to suffer injuries resulting in financial loss, emotional

anguish and suffering, both actual and prospective, and has been humiliated, demeaned and

otherwise degraded because of Centerview Partners’ outrageous conduct in violation of Shiber’s

human rights, all of which has impacted her well-being and the quality of her life, and which Shiber

alleges to be in the amount of Two Million Dollars ($2,000,000).

        88.         Here, Centerview Partners’ conduct towards Shiber shows that it acted with willful

or wanton negligence, or recklessness, or a conscious disregard of Shiber’s rights under the New



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York City Human Rights Law, or that its unlawful actions against Shiber were so reckless as to

amount to a disregard of Shiber’s rights, so that in addition to all the damages inflicted upon Shiber

and in addition to all the measures of relief to which Shiber may properly be entitled herein,

Centerview Partners should additionally be required to pay punitive damages as punishment for

its discriminatory conduct in the further amount of Three Million Dollars ($3,000,000), in order to

deter it and others similarly situated from engaging in such conduct in the future.

       89.     Shiber, therefore, seeks judgment against Centerview Partners on this Fourth Cause

of Action, including, among other things, for compensatory damages in the sum of Two Million

Dollars ($2,000,000), and the additional further sum of Three Million Dollars ($3,000,000) in

punitive damages, together with costs, pre-judgment interest and reasonable attorney’s fees on this

Cause of Action, making a total claim of Five Million Dollars ($5,000,000).

                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury.

WHEREFORE, Plaintiff Kathryn Shiber demands judgment against Defendant Centerview

Partners LLC on the First Cause of Action in the sum of Two Million Dollars ($2,000,000) in

compensatory damages and the additional and further sum of Three Million Dollars ($3,000,000)

in punitive damages for a total of Five Million Dollars ($5,000,000);on the Second Cause of Action

in the sum of Two Million Dollars ($2,000,000) in compensatory damages and the additional and

further sum of Three Million Dollars ($3,000,000) in punitive damages for a total of Five Million

Dollars ($5,000,000); on the Third Cause of Action in the sum of Two Million Dollars

($2,000,000) in compensatory damages and the additional and further sum of Three Million

Dollars ($3,000,000) in punitive damages for a total of Five Million Dollars ($5,000,000); on the


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Fourth Cause of Action in the sum of Two Million Dollars ($2,000,000) in compensatory damages

and the additional and further sum of Three Million Dollars ($3,000,000) in punitive damages for

a total of Five Million Dollars ($5,000,000); for a total of Twenty Million Dollars ($20,000,000);

plus, for all Causes of Action, pre-judgment interest, the costs of this action and reasonable

attorney’s fees, and for such other relief as this Court deems just and proper.

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